           Case 11-02353               Doc 32    Filed 07/16/13         Entered 07/16/13 11:10:04               Desc Main
                                          UNITEDDocument         Page 1 of 1COURT
                                                 STATES BANKRUPTCY
                                            Northern District of Illinois (Chicago)
IN RE:                                                                Case No.: 11-02353
Debtors: Jonathan M Stephens and Julie A Stephens                     Loan Number (Last 4):        9841


                                  TRANSFER OF CLAIM OTHER THAN FOR SECURITY


A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives evidence and
notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this evidence
and notice.
Long Beach Mortgage Loan Trust 2005-WL3                           Deutsche Bank National Trust Co
Serviced by Select Portfolio Servicing, Inc.                      as Trustee for Long Beach Mtg
Name of Transferee                                                Name of Transferor

3815 South West Temple                                            Court Claim # (if known): 10
Salt Lake City, UT 84115                                          Amount of Claim:            $21,129.28
                                                                  Date Claim Filed:           05/05/2011

Phone: 800-258-8602                                               Last Four Digits of Acct #: 0841
Last Four Digits of Acct #: 9841

Name and Address where transferee payments should be sent (if different from above):


PO Box 65450
Salt Lake City, UT 84165


Phone:   800-258-8602
Last Four Digits of Acct #:     9841



I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and
belief.


By:      /s/ Diana Duarte                                                                 Date:   07/16/2013
         Authorized Filing Agent
          (Approved by: Gina Hiatt)


Specific Contact Information:
P: 800-258-8602
Gina.Hiatt@spservicing.com




Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.


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